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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



TIKTOK INC., et al.,

                        Plaintiffs,

        v.                                               Case No. 20-cv-02658 (CJN)

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                        Defendants.




                                      JOINT STATUS REPORT

        Pursuant to the Court’s December 23, 2020 Minute Order, the parties have met and

conferred regarding a schedule for further proceedings in this action, and hereby submit this joint

status report.

        The parties have met and conferred in an effort to eliminate or narrow disputes regarding

the appropriate scope of the record in advance of the filing of dispositive motions, and those

discussions are ongoing. The parties are in agreement that in light of these ongoing discussions, a

further extension of the deadline for Defendants’ responsive pleading—currently due to be filed

on January 19, 2021—is appropriate.          The parties therefore propose that the deadline for

Defendants’ responsive pleading be continued until February 18, 2021, with a joint status report

to be filed on February 11, 2021. This agreement and joint status report is submitted without

prejudice to either party’s positions, as stated in previous status reports, as to appropriate next steps

in this matter.
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DATED: January 12, 2021                   Respectfully submitted,

                                           /s/ John E. Hall
JEFFREY BOSSERT CLARK                     John E. Hall (D.C. Bar. No. 415364)
Acting Assistant Attorney General         Beth S. Brinkmann (D.C. Bar. No. 477771)
                                          Alexander A. Berengaut (D.C. Bar. No. 989222)
JOHN V. COGHLAN                           Megan A. Crowley (D.C. Bar. No. 1049027)
Deputy Assistant Attorney General         Megan C. Keenan (D.C. Bar. No. 1672508)
                                          COVINGTON & BURLING LLP
ALEXANDER K. HAAS                         One CityCenter
Branch Director                           850 Tenth Street, NW
                                          Washington, DC 20001
DIANE KELLEHER                            Telephone: +1 (202) 662-6000
Assistant Branch Director                 Facsimile: + 1 (202) 778-6000
                                          Email: jhall@cov.com
/s/ Daniel Schwei                                 bbrinkmann@cov.com
DANIEL SCHWEI                                     aberengaut@cov.com
Special Counsel                                   mcrowley@cov.com
SERENA M. ORLOFF                                  mkeenan@cov.com
MICHAEL DREZNER
AMY E. POWELL                             Mitchell A. Kamin (Pro Hac Vice)
STUART J. ROBINSON                        COVINGTON & BURLING LLP
Trial Attorneys                           1999 Avenue of the Stars, Suite 3500
United States Department of Justice       Los Angeles, California 90067-4643
Civil Division, Federal Programs Branch   Telephone: + 1 (424) 332-4800
Ben Franklin Station, P.O. Box No. 883    Facsimile: + 1 (424) 332-4749
Washington, DC 20044                      Email: mkamin@cov.com

Counsel for Defendants                    Anders Linderot (Pro Hac Vice)
                                          COVINGTON & BURLING LLP
                                          The New York Times Building
                                          620 Eighth Avenue
                                          New York, New York 10018-1405
                                          Telephone: +1 (212) 841-1000
                                          Facsimile: + 1 (212) 841-1010
                                          Email: alinderot@cov.com

                                          Attorneys for Plaintiffs




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